7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 1 of 9
7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 2 of 9
7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 3 of 9
7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 4 of 9
7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 5 of 9
7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 6 of 9
7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 7 of 9
7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 8 of 9
7:18-cv-02957-JD   Date Filed 01/13/22   Entry Number 265-1   Page 9 of 9
